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UNITED S'I`ATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

CASE NUMBER
CLM Analogs, LLC
8:18-CV-OO31 l-]LS-SS
Plaintiff(s)
v.
]arnes R. Glidewell Dental Ceramics, Inc. et al MEDIATION REPORT
Defendant(s).

 

 

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even if the negotiations continue. If the case later settles with the assistance of the mediator,
the mediator must file a subsequent Report.

1. A mediation was held on (date): August 22, 2018

 

l:l A mediation did not take place because the case settled before the session occurred.

2. The individual parties and their respective trial counsel, designated corporate representatives, and/ or
representatives of the party's insurer:

Appeared as required by Civil L.R. 16-15.5(b).

I:I Did not appear as required by Civil L.R. 16-15.5(b).
I:I Plaintiff or plaintiffs representative failed to appear.
I:I Defendant or defendant's representative failed to appear.
|:| Other:

3. Did the case settle?
Yes, fully, on August 22, 2018 (date).
l:l Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
l:l Yes, partially, and further facilitated discussions are not expected.
l:l No, and further facilitated discussions are expected. (See No. 4 below.)
l:l No, and further facilitated discussions are not expected.

 

4. If further facilitated discussions are expected, by What date will you check in With the parties?

Dated: August 27, 2018 /s/ IOhn R. Sommer
Signature of Mediator

 

Iohn R. Sommer

The Mediator must electronically file original document in CM/ Name Of Mediator (Print)
ECF using one offour choices under "Civil => Other Filings =>
ADR/Mediation Documents => Mediation Report (ADR-3). "

 

 

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